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                                                                                                                                         EXHIBIT 7
        Weed Technology                                       Off-target pesticide movement: a review of our
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                                                              current understanding of drift due to inversions
                                                              and secondary movement
                                                              Mandy Bish1 , Eric Oseland2                       and Kevin Bradley3
        Review
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                                                                 Abstract
                                                                 Pesticide drift has been a concern since the introduction of pesticides. Historical incidences with
        Received: 29 September 2020                              off-target movement of 2,4-D and dichlorodiphenyltrichloroethane (DDT) have increased our
        Revised: 24 November 2020
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                                                                 understanding of pesticide fate in the atmosphere following aerial application. More recent inci-
        First published online: 17 December 2020                 dences with dicamba have brought to light gaps in our current understanding of aerial pesticide
                                                                 movement following ground application. In this paper, we review the current understanding of
        Associate Editor:                                        inversions and other weather and environmental factors that contribute to secondary pesticide
        William Johnson, Purdue University
                                                                 movement and raise questions that need to be addressed. Factors that influence volatility and
        Nomenclature:                                            terminology associated with the atmosphere, such as cool air drainage, temperature inversions,
        dicamba; 2, 4-D;                                         and radiation cooling will be discussed. We also present literature that highlights the need to
        dichlorodiphenyltrichloroethane                          consider the role(s) of wind in secondary drift in addition to the role in physical drift. With
        Keywords:
                                                                 increased awareness of pesticide movement and more herbicide-resistant traits available than
        bulk deposition; air mass; herbicide; stable             ever before, it has become even more essential that we understand secondary movement of pes-
        boundary layer; radiative cooling                        ticides, recognize our gaps in understanding, and advance from what is currently unknown.
        Author for correspondence:
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        Columbia, MO 65211                                    Introduction
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                                                              Pesticide movement from intended targets onto unintended targets has been a concern as long
                                                              as pesticides have been applied. The first report recognizing pesticides as air pollutants occurred
                                                              in 1946 (Daines 1952). In 1953, authors of a Stanford Law Review article summarized the con-
                                                              flict of pesticide drift well: “Science has created weapons which are of inestimable value to many
                                                              farmers, but which threaten the economic existence of others.” (Stanford Law Review 1953).
                                                                  Commercial introduction of crops with dicamba-resistant traits and subsequent off-target
                                                              movement of dicamba herbicide is the most recent example of large-scale pesticide movement.
                                                              However, pesticides moving off target in large quantities is not a novel concern, and additional
                                                              examples, including those outlined below, have advanced our understanding and guided
                                                              research on aerial pesticide movement.

                                                              Introduction of 2,4-D and Crop Dusting
                                                              The U.S. agriculture industry rapidly adopted the practice of applying pesticides via crop dusting
                                                              in the early 1950s. Commercial introduction of 2,4-D; the return of newly unemployed, World
                                                              War II-trained military pilots; and a surplus of military planes provided the opportunities for
                                                              this expansion (Stanford Law Review 1953). It was common for crop dusters to apply pesticides
                                                              in the early morning or after sundown to avoid physical drift associated with higher midday
                                                              wind speeds (Stanford Law Review 1953). This practice likely resulted in pesticides being applied
                                                              during inversion-like conditions. The increase in crop dusting applications resulted in an
                                                              increase in legal pesticide drift cases, and in 1952–1953, nine crop dusting cases reached the
        © The Author(s), 2020. Published by Cambridge         appellate court (Akesson and Yates 1964; Stanford Law Review 1953).
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        Society of America. This is an Open Access
        article, distributed under the terms of the           The Grape-Growing Region of the Yakima Valley
        Creative Commons Attribution licence (http://
        creativecommons.org/licenses/by/4.0/), which          Large-scale off-target movement of 2,4-D continued to be a problem into the next decades. The
        permits unrestricted re-use, distribution, and        wheat and grape-growing regions of Yakima Valley in Washington state occur in close prox-
        reproduction in any medium, provided the              imity, and by the 1960s, herbicide damage in the grape-growing region, resulting from appli-
        original work is properly cited.                      cations of 2,4-D to wheat, was severe and widespread. Air sampling research conducted in the
                                                              Yakima Valley region in the early 1970s indicated that 2,4-D had traveled approximately 16 km
                                                              from wheat fields to vineyards and in sufficient quantities to injure grapes (Reisenger and
                                                              Robinson 1976). It was during these observations that the term “air mass” damage was derived
                                                              (Robinson and Fox 1978). “Air mass” damage referred to large areas where consistent herbicide
                                                              injury symptoms appeared on the sensitive crop without a definable gradient and was speculated

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        to be the result of a large, contaminated cloud passing through the
        area (Robinson and Fox 1978). The state began banning highly vol-
        atile 2,4-D formulations and enforcing cutoff dates in specific
        counties in the early 1970s (Reisenger and Robinson 1976;
        Robinson and Fox 1978).

        Dichlorodiphenyltrichloroethane in the Atmosphere
        Off-target movement of the highly persistent insecticide organo-
        chlorine dichlorodiphenyltrichloroethane (DDT) resulted in sev-
        eral research studies conducted in the 1980s. Results from air
        sampling research conducted aboard ships in the Arabian Sea,
        Indian Ocean, and north Atlantic Ocean indicated that DDT
        was 25 to 40 times more highly concentrated over waters in prox-
        imity to regions where the chemical was still used compared with
        areas where the chemical had been banned (Bidleman and Leonard                              Figure 1. Number of dicamba-related injury claims reported by state departments of
                                                                                                    agriculture in 2017, which was the first year dicamba could legally be applied over the
        1982). Findings from Bidleman and Leonard’s study combined
                                                                                                    top of dicamba-resistant soybean and cotton.
        with other research reviewed by Pimentel and Levitan (1986)
        led to the conclusion that atmospheric pesticide levels are a func-
        tion of the location where application occurred, wind direction at                          across entire fields of dicamba-sensitive soybean, regardless of the
        application, subsequent movement of air masses containing pesti-                            size of the injured field or proximity to the source of the suspected
        cides, and atmospheric transport time.                                                      off-target movement. This phenomenon came to be known as the
                                                                                                    “landscape-level effect” and can likely be attributed to a combina-
        Postemergence Dicamba Applications to Soybean and Cotton                                    tion of factors including 1) the extreme sensitivity of non-
        The most recent off-target dicamba injury observations (Bish et al.                         dicamba–resistant soybean to even the most minute quantities
        2019b; Bradley 2017a, 2017b; Steckel 2017) were unique in that                              of dicamba (Hartzler 2020b; Solomon and Bradley 2014); 2) innate
        applications could only be made by via ground sprayers.                                     sensitivity of many other broadleaf species to dicamba (summa-
        However, reported damage was still extensive (Figure 1) (Bish et al.                        rized in Table 1); and 3) the tendency of ground-based applications
        2019b; Bradley 2017b; Steckel 2017). In 2017, off-target movement                           of dicamba to move into and within the atmosphere through fac-
        of dicamba resulted in 2,708 dicamba-related injury investigations                          tors that influence secondary movement.
        by state departments of agriculture (Figure 1; Oseland et al. 2020).
        During this same year, state extension weed scientists estimated
                                                                                                    Primary and Secondary Pesticide Movement
        that approximately 1.5 million ha of soybean were reported to
        be injured by dicamba in the United States (Bradley 2017b).                                 Pesticide drift is commonly described as either primary or secon-
        Additional reports of injury to sensitive, nontarget vegetation were                        dary movement. Primary movement occurs when pesticides move
        extensively documented throughout 2018, 2019, and 2020, espe-                               off target at the time of application (Carlsen et al. 2006; Jones et al.
        cially in areas where adoption of soybean and cotton crops with                             2019). The terms primary movement, primary drift, spray drift,
        the dicamba-resistant trait was highest (Bradley 2018; Hager                                and direct drift are often used interchangeably (Carlsen et al.
        2019; Hartzler 2020a; Hartzler 2020b; Johnson and Ikley 2018;                               2006). This drift is the result of an active ingredient of a pesticide
        Steckel 2018, 2019; Zimmer et al. 2019; Zimmer and Johnson                                  being transported away from the intended area after coming
        2020). In a recent survey of state departments of agriculture posted                        through the application spray nozzle, due to air flow at the time
        on the Association of American Pesticide Control Officials                                  of application (Combellack 1982). Primary drift is not affected
        (AAPCO) website, 151 dicamba-related cases were reported in                                 by the formulation of a pesticide’s active ingredient (Bird et al.
        Illinois, 116 in Minnesota, 102 in Missouri, 73 in Indiana, and                             1996; Carlsen et al. 2006). Many factors that result in primary
        63 in Nebraska (AAPCO 2020). At least two surveys, including                                movement are largely within an applicator’s control (Bish and
        the AAPCO survey, noted that underreporting of dicamba injury                               Bradley 2017; Vangessel and Johnson 2005). The scope of this
        to state departments of agriculture is common (AAPCO 2020;                                  review does not include analysis of these factors, which include
        Bradley 2019). Based on these numbers and observations, it seems                            nozzle type, droplet size, adjuvants, boom height, and sprayer
        that the extent of off-target movement of dicamba that has                                  speed.
        occurred during this time period is more substantial than any                                   Secondary movement occurs after herbicide application (Jones
        chemical movement previously experienced in U.S. agricultural                               et al. 2019; Mueller 2015). Variables that affect secondary move-
        history.                                                                                    ment are much more difficult to control than those associated with
            Once off-target movement of dicamba began to appear in areas                            primary movement and can be more difficult to characterize.
        where adoption of crops with the dicamba-resistance traits was                              Vapor drift is one form of secondary movement and is the result
        higher (i.e., southeastern Missouri, northeastern Arkansas, and                             of chemicals volatilizing into the atmosphere. Wind erosion is
        western Tennessee), one observation that became immediately                                 another form and occurs when the pesticide is deposited on the
        apparent was the extent of injury that occurred across entire fields                        intended surface but is moved back into the atmosphere with
        of dicamba-sensitive soybean (Bradley 2017a; Hager 2017; Loux                               the soil particulate to which it is bound (Clay et al. 2001).
        and Johnson 2017; Steckel 2017). Extension weed scientists and                              Application method, size and chemical makeup of soil particulate,
        others who became involved in visiting these injured fields com-                            and herbicide dissipation rates affect secondary movement by wind
        monly reported a phenomenon in which essentially no discernable                             erosion. In a comparison of residual herbicides incorporated into
        differences in the severity of the dicamba injury could be observed                         the soil and herbicides applied on undisturbed soils, the amount of

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        herbicide collected on wind-erodible soil sediments was approxi-                            following application. Injury from the 2,4-D choline application
        mately 8% and 65%, respectively (Clay et al. 2001). Additionally, pes-                      was not detected further than 1.5 m from the site of application.
        ticides applied during stable atmospheric conditions can remain in the                      Older formulations of 2,4-D ester and 2,4-D amine moved 48 m
        atmosphere and be readily available for secondary movement (Bish                            and 3 m from the treated sites, respectively (Sosnoskie et al.
        et al. 2019a). Although these conditions might seem like the perfect                        2015). It is important to note that a complete understanding of
        time to spray to minimize physical drift, they can result in high levels                    2,4-D choline volatility and secondary movement may not occur
        of off-target pesticide movement (Bird et al. 1996).                                        until 2,4-D resistant cotton and soybean are grown on a larger scale
            This review covers our current understanding of how pesticides                          for concurrent years.
        move into or remain in the atmosphere and become available for                                  Additional factors that can influence volatility include a plant’s
        secondary movement. Much of the review will encompass research                              ability to absorb the chemical, pH of the environment, and air tem-
        specific to dicamba and 2,4-D. The extreme sensitivity of nonre-                            perature. The rate of chemical uptake affects how long the pesticide
        sistant plants, distinct injury symptoms, and historical volatility                         is available on the surface for volatilization. Uptake is influenced by
        issues associated with these chemicals have resulted in a vast array                        epicuticle thickness of the leaf on which the droplet lands (Baker
        of studies published in the literature. However, most of the factors                        and Hunt 1981) and relative humidity at the surface of the leaf,
        discussed in this review will apply to pesticide movement in                                which influences stomatal conductance (Pallas 1960). Legleiter
        general.                                                                                    et al. (2018) found that following applications of 2,4-D plus glyph-
                                                                                                    osate with various nozzles and over four weed species, 2,4-D levels
                                                                                                    on the leaf surfaces were 4% to 16.6% of the initial levels at 24 h
        Factors That Promote Volatility
                                                                                                    after application. Studies in the early 1970s showed that 40% of
        Volatility allows chemicals to return to the atmosphere and                                 radiolabeled dicamba applied to wheat or Tartary buckwheat leaves
        become available for off-target transport. Synthetic auxin herbi-                           remained on the leaves after 24 h (Chang and Vanden Born 1971). In
        cides such as 2,4-D and dicamba are prone to volatility due to their                        1993, research showed that surface residues of 2,4-D and dicamba on
        chemical properties. A study conducted in Canada in the late 1970s                          wheat plants was greatly reduced 24 h after application (Cessna 1993).
        suggested that vapor drift was the major contributor to off-target                          We have preliminary data indicating that DGA-VG can be detected
        2,4-D movement with an estimated 35% of high-volatile 2,4-D for-                            on soybean leaf surfaces 48 h after an application; however, we are
        mulations volatilizing off of Canadian prairie soils (Maybank et al.                        unaware of any peer-reviewed literature on the half-lives of new
        1978). Later in the 1970s, Behrens and Lueschen (1979) found that                           dicamba formulations on leaf surfaces.
        dicamba applied to corn could volatilize in sufficient quantities to                            Dicamba is most likely to convert to the highly volatile dicamba
        injure soybean for up to 3 d following application and cause symp-                          acid as pH lowers to near 5 (Abraham 2018). Sources that can
        toms to sensitive soybean plants 60 m from the treated area. They                           influence dicamba pH include spray tank solution pH and soil
        also found that of four formulations tested, the acid form of                               pH (Mueller and Steckel 2019a; Oseland et al. 2020). Other sources
        dicamba was most susceptible to volatilize in laboratory settings,                          such as pH of morning dew on leaf surfaces are also likely. Mueller
        and that dicamba volatilized more readily from soybean and corn                             and Steckel found that adding glyphosate to the DGA-VG or
        leaf surfaces than from soil (Behrens and Lueschen 1979).                                   BAPMA formulations of dicamba decreased spray tank formu-
            The vapor pressure of synthetic auxin herbicides is in general                          lation to a pH of near or below 5.0 depending on the carrier volume
        higher relative to many other common herbicides, and subtle                                 and starting pH of the water source (Mueller and Steckel 2019a).
        increases in air temperature can result in more rapid transition                            They went on to show that addition of glyphosate to DGA-VG
        of molecules from liquid to vapor (Spencer and Cliath 1983).                                increased the amount of dicamba detected compared with dicamba
        New 2,4-D and dicamba formulations have since been developed                                alone (Mueller and Steckel 2019b). Those findings were similar to
        to reduce volatility in large part by reducing the vapor pressure of                        ours, in which addition of glyphosate to a dicamba spray solu-
        the chemical. Two of the most recently developed formulations of                            tion increased the amount of dicamba detected in the air from
        dicamba salts, the diglycolamine salt of dicamba combined with an                           4.45 ng m−3 to 8.45 ng m−3 (Bish et al. 2019a). More recently,
        acetic acid:acetate pH modifier (DGA-VG) and the N,N-bis-(3-                                we found that soil pH can affect the likelihood of dicamba volatili-
        aminopropyl)methylamine salt of dicamba (BAPMA), have much                                  zation (Oseland et al. 2020). In a series of binary logistic regression
        lower vapor pressures than dicamba acid (Hartzler 2017;                                     models developed to identify weather and environmental factors
        Hemminghaus et al. 2017; MacInnes 2017; Werle et al. 2018).                                 that improve the likelihood of dicamba applications remaining
        However, both formulations were detected for 72 h after application                         on target, we found that as soil pH increased, the likelihood of a
        in air sampling studies conducted 20 cm above the soybean canopy                            successful application increased. Model results were validated with
        indicating that detectable amounts of these new formulations were                           field studies, which showed that dicamba applied to soils when the
        volatilizing over time (Bish et al. 2019a). Using bioassay plants, Jones                    pH was <6.8 was more likely to volatilize and move onto sensitive
        et al (2018) showed that injury associated with secondary move-                             bioassay plants (Oseland et al. 2020). The significance of the pH of
        ment, indicative of volatility of BAPMA and DGA-VG applications,                            the soil surface, which is often more acidic than the entire layer of
        could be observed at 108 m and 180 m from the sites of application,                         topsoil, has likely been underestimated in its role in dicamba move-
        respectively (Jones et al. 2018). These results provide more research                       ment, especially when early POST applications are made to vegeta-
        support to field observations that lower-volatile dicamba formula-                          tive soybean that have not yet canopied and a significant portion of
        tions can volatilize in meaningful quantities.                                              the soil surface is exposed.
            Research on the most recent formulation of 2,4-D known as                                   Mueller and Steckel (2019b) used humidomes to study the
        2,4-D choline, the choline being a quaternary ammonium salt,                                effects of temperature on volatility of the DGA-VG and DGA for-
        has shown reduced volatility when tested in Georgia using cotton                            mulations. As temperature increased from 20 C to >30 C dicamba
        as bioassay plants (Sosnoskie et al. 2015). Potted cotton plants were                       concentrations in the air following applications of either formu-
        placed outside of treated plots approximately 1 h after applications                        lation also increased. When applications were made at air temper-
        with three formulations of 2,4-D and removed at either 24 h or 48 h                         atures <20 C, differences in dicamba concentrations were not

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        Table 1. Select literature on sensitivity of species to dicamba and/or 2,4-D arranged by year published from oldest to newest.

        Plant species        Herbicide(s)                            Reference                     Brief Summary
        Alfalfa              Multiple including 2,4-D                Al-Khatib et al. (1992a)      2,4-D drift can result in injury following multiple alfalfa cuttings unlike other
                                                                                                      herbicides tested.
        Sweet cherry         Multiple including 2,4-D and            Al-Khatib et al. (1992b)      2,4-D applied at 1/3 the labeled rate caused visible injury, restricted growth
                               2,4-D þ glyphosate                                                     and leaf area on sweet cherry trees.
        Wine grape           Multiple including 2,4-D and            Al-Khatib et al. (1993)       2,4-D applied at 1/100th the labeled rate resulted in injury to established
                               2,4-D þ glyphosate                                                     Lemberger grape that was still visible 120 d after treatment.
        Tomato               Glyphosate and dicamba                  Kruger et al. (2012)          Dicamba applied at 2.3 g ae ha−1 to vegetative stage tomato resulted in 5%
                                                                                                      marketable fruit loss. It took 21.2 g ae ha−1 of glyphosate to result in a sim-
                                                                                                      ilar effect.
        Soybean              Multiple including 2,4-D and            Solomon and Bradley           Low rates of synthetic auxin herbicides applied to sensitive soybean cause dif-
                               dicamba                                 (2014)                         ferent levels of injury and yield loss depending on the herbicide. Dicamba
                                                                                                      applications to R2 soybean resulted in significant injury and yield loss.
                                                                                                      Similar rates of 2,4-D did not result in yield loss.
        Soybean and          2,4-D and dicamba                       Egan et al. (2014)            Soybean is more sensitive to dicamba and relatively tolerant to 2,4-D when
          cotton                                                                                      injured at the flowering stage. Cotton is highly sensitive to 2,4-D and more
                                                                                                      tolerant to dicamba at the vegetative stages.
        Broccoli and         2,4-D, dicamba, and 2,4-D plus          Mohseni-Moghadam              Total yield of broccoli and fruit maturity of bell pepper can be affected by
          bell pepper           glyphosate                             and Doohan (2015)              driftable fractions of 2,4-D and dicamba.
        Wine grapes          2,4-D, dicamba, glyphosate, 2,4-        Mohseni-Moghadam              Grape cultivars were most sensitive to 2,4-D, but also sensitive to dicamba.
                                D þ glyphosate, 2,4-D þ                et al. (2016)                  Glyphosate applications resulted in less than 10% visual injury across all
                                dicamba                                                               rates tested.
        Watermelon           2,4-D and dicamba                       Culpepper et al. (2018)       The number of marketable watermelons was greatly reduced with treatments
                                                                                                      of dicamba or 2,4-D applied at 1/75th of the labeled rate and 20 or 40 d
                                                                                                      after planting.
        Soybean              Dicamba                                 Kniss (2018)                  A meta-analysis of 11 field studies indicated that a dicamba dose of 0.9 g ha−1
                                                                                                      at the flowering stage results in 5% soybean yield loss.
        Soybean              Dicamba                                 McCown et al. (2018)          Dicamba applications at 2.18 and 8.75 g ae ha−1 on V4, V6, R1, R2, and R3 sen-
                                                                                                      sitive soybean yielded less than soybean injured at later reproductive
                                                                                                      stages.
        Ornamentals          2,4-D and dicamba                       Dintelmann et al.             Apple, red maple, peach, and pin oak are more sensitive to dicamba than 2,4-
          and Fruiting       2,4-D þ glyphosate                        (2019)                         D. Black walnut, grapevine, and American elm are more sensitive to 2,4-D.
          Trees              dicamba þ glyphosate
        Common gar-          2,4-D and dicamba                       Dintelmann et al.             Coleus was the most sensitive of eight species screened with driftable rates of
          den annuals        2,4-D þ glyphosate                        (2020)                        dicamba or 2,4-D. Petunia exhibited the highest tolerance to 2,4-D or
                             dicamba þ glyphosate                                                    dicamba applied alone.



        observed. We (Oseland et al. 2020) also found a relationship                                distribution and deposition of pesticides (Majewski and Capel
        between minimum daily air temperature and the likelihood of a                               1995). Within the atmosphere, the boundary layer is an essential
        successful dicamba application. The lower the air temperature,                              component of primary and secondary pesticide transport given
        the more likely the application was successful.                                             that pesticides are applied in this layer, and that volatilized, eroded,
            Although temperature is an essential component for volatiliza-                          or suspended particles will first enter this layer (Majewski and
        tion of pesticides, other transport mechanisms must be responsible                          Capel 1996). The boundary layer is within the troposphere, which
        for movement of those pesticides once they are in the air. Statistics                       is the lowest region of the atmosphere. Boundary layer depth fluc-
        for our regression model with air temperature improved when                                 tuates throughout the day and is defined as the portion of atmos-
        maximum wind speed was included as a variable (Oseland et al.                               phere that is directly influenced by the earth’s surface (Hu 2015).
        2020). Additionally, a recent study by Soltani et al. (2020) showed                         Surface boundary layer depth is critical for vertical dispersion of
        that high temperature alone was insufficient to explain differences                         airborne pesticides (Thistle 2004). A deeper boundary layer pro-
        observed in secondary drift following dicamba DGA-VG applica-                               vides a greater opportunity for dispersion and dilution of pesticide
        tions made in Arkansas, Indiana, Michigan, Nebraska, Ontario,                               droplets (Hu 2015). In the daytime and over land, the boundary
        and Wisconsin.                                                                              layer can reach several kilometers above the earth’s surface
            Volatility is one mechanism that allows pesticides to move in                           (Wyngaard 1990), whereas the same layer may reach only tens
        the air. Regardless of the cause, once pesticides move into the                             of meters above the earth’s surface during evenings (Smith and
        air, they are available for transport. The following sections high-                         Hunt 1978). Changes in depth of the boundary layer are largely
        light the role of the atmosphere in transporting chemicals that have                        impacted by radiative heating and the resulting turbulence or wind.
        moved into the air, whether through volatility or applications made
        during stable conditions.
                                                                                                    Radiative Heating and Cooling
                                                                                                    Radiative heating and cooling are effects of solar radiation, and
        The Role of the Atmosphere in Pesticide Movement                                            radiation cooling is associated with formation of temperature
                                                                                                    inversions and stable air masses. During daytime hours, radiative
        Boundary Layer
                                                                                                    heating occurs as the sun emits energy that contacts the earth’s sur-
        The atmosphere has many layers, and as Fritz et al. (2008) pointed                          face and is either absorbed into the soil or reflected. Reflected
        out, this is “the most uncontrollable factor requiring the applicator                       energy heats the air nearest the surface. The warmed air becomes
        to make adjustments in real time”. It is an important factor in                             less dense and rises. Simultaneously, cooler air sinks to the earth’s

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        surface, is warmed, and begins rising. A convection cycle forms.                            (concordance = 0.7; P = 0.03) included air temperature on the
        Radiative heating is associated with the production of winds due                            day of application and maximum wind speed on the day of appli-
        to the warm and cool air masses mixing. This wind results in an                             cation and the day following application (Oseland et al. 2020). The
        increased depth of the surface boundary layer, which allows more                            likelihood that dicamba remained on the intended target increased
        efficient dispersion and dilution of pesticide droplets. Thus, radi-                        with lower air temperatures and higher wind speeds (measured at
        ative heating and the generated wind create amenable conditions                             3.05 m) on the day of application. We concluded that the higher
        for pesticide applications (if air temperatures and wind speeds do                          wind speeds resulted in conditions that were favorable for
        not exceed maximum label limits).                                                           dispersion and dilution of droplets or fines suspended in the air
            Radiation cooling occurs near sunset as the earth no longer                             at time of application. In the same study, lower wind speeds on
        emits energy and the air near the surface remains cool and dense                            the day following application resulted in increased likelihood that
        and does not rise. A lack of mixing between warm and cool air                               dicamba would remain on target. We speculated that increases in
        results in a lack of thermal turbulence or vertical wind, which in                          wind or turbulence on the day following application, which
        turn results in a shallower surface boundary layer, which can                               increased the likelihood of off-target observations, would result
        impede pesticide droplet dispersion and dilution (Hu 2015).                                 in the degradation of stable air masses or inverted conditions,
        This process begins rapidly on clear evenings (Bish et al. 2019b).                          and consequently allow any pesticide droplets trapped in stable
        Radiation cooling can be impeded or inhibited on cloudy evenings,                           air to move toward the surface and onto unintended plants
        because clouds absorb radiation emitted from the surface and                                (Oseland et al. 2020).
        reflect it back to the surface, preventing heat waves from escaping
        into higher levels of the atmosphere (Thistle 2004). Radiation cool-                        Stable Atmosphere
        ing typically results in nocturnal inversions and little to no wind on
                                                                                                    Applications erroneously made into stable air masses typically
        at least half of evenings during the growing season months (Hosler
                                                                                                    occur when applicators are working to avoid windy conditions,
        1961; Bish et al. 2019b).
                                                                                                    as in the crop dusting examples mentioned from the 1950s
                                                                                                    (Bish and Bradley 2017; Stanford Law Review 1953). However, pre-
        Wind: Turbulent Mixing Versus Horizontal Transport                                          viously described mechanisms such as volatility and wind erosion
                                                                                                    can also move pesticides into stable air after pesticide application
        We tend to group all categories of wind and causal mechanisms
                                                                                                    (Pionke and Chesters 1973).
        together and make generalized statements about monitoring wind
                                                                                                        We recently found a relationship between atmospheric stability
        speeds at the time of application. This allows for an easily convey-
                                                                                                    and the amount of dicamba in the air for the first 8 h after appli-
        able message to applicators, who typically understand the risks of
                                                                                                    cation (Bish et al. 2019a). We found that as air became more stable,
        physical drift (Bish and Bradley 2017). Wind is clearly important in
                                                                                                    the average amount of dicamba detected in the air increased. Air
        primary movement of pesticides; however, wind also plays a role in
                                                                                                    temperature (AT) was monitored at 305 cm and 46 cm AGL. The
        dispersing pesticide droplets in the atmosphere. A lack of wind can
                                                                                                    larger the temperature difference (ΔT) of AT at 305 cm minus the
        allow pesticides to remain in the air and move into atmospheric
                                                                                                    AT at 46 cm (AT 305 – AT 46), the more stable the air. Regression
        layers that are conducive for transport of the droplets (Thistle
                                                                                                    models indicated that for each 1 degree increase in ΔT, detectable
        2004; Fritz 2006). A series of publications from California in the
                                                                                                    dicamba in the air increased by 1.67 ng m−3 over the first 8 h after
        1960s and 1970s showed that aerially applied pesticides moved far-
                                                                                                    the application. This is similar to findings reported by Miller et al.
        ther off target and in larger quantities when applications were
                                                                                                    (2000) in which higher concentrations of malathion were collected
        made when winds were light to nonexistent compared to move-
                                                                                                    in more stable compared to unstable conditions.
        ment due to physical drift (Yates et al. 1966, 1967, 1976; Bird
                                                                                                        Topography, ground cover, wind, and nearby bodies of water can
        et al. 1996). Following introduction of the dicamba-resistant crop
                                                                                                    all affect the stability of the air. In the studies on 2,4-D movement in
        traits, dicamba injury claims were highest in regions with high con-
                                                                                                    the Yakima Valley, “high concentration days” were associated with
        centrations of chemicals per area and geographies with lower wind
                                                                                                    stable conditions that resulted from the formation of a leeside
        speeds during the growing season (Bish et al. 2019a). These data
                                                                                                    trough, increased cloud cover, and lack of radiative turbulence.
        provide support for the necessity of wind in reducing secondary
                                                                                                    High concentration was defined as 2,4-D levels in the air being
        movement.
                                                                                                    detected at ≥1 μg m−3 on a given day (Reisner and Robinson 1976).
            Wind is the product of thermal or mechanical turbulence.
                                                                                                        Two more common conditions associated with the formation of
        Thermal turbulence occurs on most days as a result of radiative
                                                                                                    a stable atmosphere and subsequent off-target pesticide movement
        heating and effective vertical mixing of warm and cool air masses.
                                                                                                    are temperature inversions and cool air drainage.
        Mechanical turbulence is caused by air and ground friction from
        irregular terrain and/or obstacles such as trees, buildings, terraces,
                                                                                                    Temperature Inversions
        etc. (Monteith and Unsworth 2013).
            Increased thermal turbulence during the midday extends the                              The temperature profile on a typical day has the warmest air tem-
        depth of the surface boundary layer, increasing the likelihood of                           perature nearest the earth and cooler temperatures farther from the
        pesticide droplets to be diluted and dispersed. A 4-yr study con-                           surface. This temperature profile is due to radiative heating, and
        ducted in the midwestern United States in the 1960s revealed dras-                          typically creates an unstable atmospheric condition due to the gen-
        tic differences in wind mixing depths between midday and                                    erated wind, which can make it conducive for pesticide applica-
        overnight conditions. Mixing depth typically ranged from 1,600                              tions. Inversions occur when this temperature profile shifts so
        to 1,900 m above ground level (AGL) during afternoon hours of                               that cooler air temperatures are nearest the earth’s surface.
        the growing season and typically shrunk to 300 to 500 m AGL dur-                            Dense, cooler air remains near the earth’s surface, so there is no
        ing early morning (Holzworth 1967).                                                         mixing of air masses and little to no vertical winds, and the result
            In the regression models we developed to identify predic-                               is a stable atmosphere. This condition is not conducive for pesti-
        tors of successful dicamba applications, the best fit model                                 cide applications because droplets can remain suspended in the

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        Figure 2. The 3-yr average July air temperature (primary axis) and wind speed measurements (secondary axis and light blue line) are graphed for two locations in Missouri. The
        air temperatures show differences in inversion depth. Inverted air temperatures at the Hayward site extended from 46 cm up to 305 cm above ground level (AGL) and likely higher.
        Inverted air temperatures at the Albany site extended from 168 cm AGL up to 305 cm and likely higher. Differences in the height AGL that inversions formed is likely influenced by
        the different topographies.


        stable air mass. Additionally, inverted air temperatures and the                                Depth and strength of inversion conditions are influenced by
        subsequent stable air are likely involved in endo-loss and move-                            field surroundings. Figure 2 shows a 3-yr average of evening air tem-
        ment of volatilized droplets. Inversions can be caused by many fac-                         peratures and wind speeds in July for two locations in Missouri.
        tors including subsidence (sinking air that becomes warmer in                               Average inversions occurred from 46 cm to 305 cm AGL at the
        temperature than the air below), radiative cooling, and frontal sys-                        Hayward location. (Inverted conditions may have extended beyond
        tem collision (a cooler air mass that undercuts a warm air mass).                           305 cm AGL; however, this was the highest point of measurement.)
        Nocturnal inversions induced by radiative cooling are common in                             The low point of inversions at the Albany location was commonly
        agricultural regions in the United States (Baker et al. 1969; Bish                          168 cm AGL. Topography likely functions in the differences
        et al. 2019b; Bish and Bradley 2019b; Holzworth 1967; Holser                                observed between these locations (Bish et al. 2019b). The meteoro-
        1961). However, inversions can occur during daytime hours as                                logical station at Albany sits in a low-lying area adjacent to a slight
        well. Fritz and colleagues (2008) used temperature probes at 0.5,                           upward slope. This slope may serve as an obstruction and result in
        2.5, 5, 7.5, and 10 m AGL to monitor inversions at two sites in                             mechanical turbulence as air moves over the slope. Generated wind
        Texas: a coastal location and a land-locked location. They found                            could impede the depth of the inversions.
        daytime inversions were less persistent and had shorter durations                               Degradation of the inversion system allows pesticide droplets
        than nocturnal inversions but did occur on >15% of days that were                           that were suspended in the stable air mass to deposit back to
        monitored, with 19% and 36% of days monitored having inver-                                 the earth’s surface. Typically, nocturnal inversions degrade near
        sions between 11:00 A.M. and 4:00 P.M. (Fritz et al. 2008).                                 sunrise as radiative warming begins and thermal turbulence
        Morning and midday inversions between the heights of 2.5 and                                increases. However, topography and field obstructions that result
        10 m AGL lasted approximately 30 min on average and were                                    in mechanical turbulence can also result in premature dissipation
        approximately half as intense as evening inversions.                                        of inversions. In the 3-yr inversion analysis, we found more

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                                            15 seconds                                                 30 seconds




                                            1 minute                                                    2 minutes




                                            3 minutes                                                  5 minutes




        Figure 3. A time-lapse series following the release of a smoke bomb at a soybean field adjacent to a pipe river. The river is on the other side of the distal tree line. The visible
        plume first moved vertically. As the plume reached the height of the tree line, between 30 s and 1 min, it began sinking, which is likely the result of being incorporated into a cooler
        air stream. The particulate did not disperse but moved as a dust cloud to the low point in the field, where it remained visible for 3 min. (These particular smoke bombs, Enola Gaye
        smoke grenades, are designed to emit an observable plume for 90 s.)




        variation in duration length and dissipation times of inversions at                           movement is associated with or labeled as cool air drainage.
        Albany compared to the other two locations (Bish et al. 2019b).                               When moved, a dense cooler air mass sinks to the lowest area, thus
        Inversions at the Albany location were typically much shorter                                 it drains. Cool air drainage is most pronounced at the bases of
        and more variable, whereas inversions at the Hayward location                                 mountains, valleys, or river bottoms. Frequently, bystanders can
        typically persisted through the evening, lasting on average 12 h.                             often feel the cooler air move through when standing in low-lying
        At the Columbia, Missouri location, inversions lasted approxi-                                regions at or near sunset. General weather conditions favorable for
        mately 11 h in April and became shorter as evenings grew longer,                              drainage winds in valleys include clear skies, low humidity, light
        averaging approximately 7 h in length by July. Disruption of inver-                           <5 m s−1, and ambient winds (Barr and Orgill 1989).
        sions occurred between 5:00 A.M. and 7:00 A.M. consistently at                                    Drainage also occurs in open areas with mild terrain and/or
        Hayward and Columbia, whereas this varied substantially at                                    limited shelters, such as many agricultural fields (Barr and
        Albany.                                                                                       Orgill 1989). In these locations, development of the cool air mass
                                                                                                      and subsequent drainage is frequently driven by radiative cooling
                                                                                                      and inversion formation. This is one reason that a pesticide applied
        Cool Air Drainage
                                                                                                      during inversion conditions can result in movement several miles
        Masses of cool air will not rise in altitude due to density; however,                         away as suspended droplets travel in the stable air mass as part of a
        they can be moved by gentle horizontal winds. Sometimes this                                  cool air drainage system.

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                                          A




                                           B                                                        C




        Figure 4. A few meters into the nearest tree line from where the smoke bomb was released (Figure 3), sporadic damage that resembled dicamba and glyphosate injury was
        observable in the trees. Red arrows point toward dicamba and glyphosate symptoms. (B) Enlarged image of injury resembling leaf cupping or leaf rolling, typical of dicamba. (C)
        Enlarged photograph of the generalized chlorosis and necrosis of the younger leaves associated with glyphosate injury.



            Similar to inversion formation, the drainage strength, depth,                           impede drainage. Examples of vertical obstructions in open fields
        and structure are influenced by many factors (Barr and Orgill                               that may generate mechanical turbulence include tree lines and
        1989). Drainage flow on a downward slope is likely to be shallow                            buildings. In the Kansas study, cool air drainage occurred even
        in depth on much of the agricultural land in the United States given                        on evenings when the opposing wind was moderate, moving
        a lack of vertical elevation differences (McNider and Pielke 1984).                         10 m s−1 at 60 m above ground, which would equate to approximately
        However, even smaller disruptions to the topography, such as ter-                           1.4 m s−1 at 1 m above the ground (Mahrt et al. 2001; Oseland et al.
        races, may restrict or influence the flow pattern of cool air drainage                      2020). It is possible that in agricultural lands with gentle side slopes
        (Mahrt et al. 2001). In a study conducted in southern Kansas and                            and strong stratifications of cool air formation in the evening, a shal-
        on a terrain that varied in elevation from 450 to 475 m AGL, cool                           low drainage system would persist even in moderate winds (Mahrt
        air drainage was observed during evenings. However, the flow was                            et al. 2001). Gentle slopes may be beneficial in that they can act as
        always weak, and the layer of cool air was typically thin (usually 3                        a barrier for pesticide movement from the field during drainage con-
        m or less AGL). Flow was typically disrupted during the evening                             ditions if the depth of the cool air drainage is shallow.
        and would reform on some evenings, but not consistently (Mahrt                                  Shallow drainage systems degrade rapidly and as they are dis-
        et al. 2001).                                                                               rupted, herbicide particles settle out of the atmosphere. In rela-
            Degradation of a drainage system is typically induced by radi-                          tively flat areas, observations of pesticide injury may be
        ative heating and the increased thermal turbulence needed to dis-                           restricted to the lowest lying areas of the field. Drainage systems
        rupt the stable air mass. However, mechanical turbulence can also                           along rivers tends to be more pronounced due to more pronounced

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        Figure 5. Smoke bombs released at the same site in Columbia, Missouri (2017), during unstable, noninversion conditions (approximately 4:00 P.M.) and inversion conditions
        (approximately 7:30 P.M.). The smoke plume has dissipated by 50 s following release during noninversion conditions while the plume remained intact during stable conditions.



        elevation differences. The larger depth (height) of such a drainage                             Dry deposition is the settling of pesticides that have sorbed
        system requires more turbulence or stronger vertical winds to dis-                          onto suspended particulate matter in the atmosphere (Majewski
        rupt. Consequently, drainage systems in fields along river bottoms                          and Capel 1996). Wet deposition occurs when particles are scav-
        can persist longer and move farther, which provides an opportu-                             enged by raindrops and redistributed to the earth’s surface. This
        nity for pesticides to be transported over long distances.                                  is a rapid and predominant pathway for removal of pesticides
            Figure 3 is a time-lapse series following the release of a smoke                        from the atmosphere (Glotfelty and Caro 1975; Majewski and
        bomb at a soybean field adjacent to a pipe river in Missouri. The                           Capel 1996). Bulk deposition samplers are a common method
        river is on the other side of the distal tree line. The smoke plume                         of collecting wet and dry deposition samples for downstream
        moved vertically for the first 30 s, indicating a ground level inversion                    analysis (Messing et al. 2014; Waite et al. 1995, 1999). Studies
        had not yet formed. However, as the plume reached the height similar                        using either wet deposition or bulk deposition have been used
        to the top of the tree line, between 30 s and 1 min, it did not continue                    to identify potential relationships between concentrations of
        to dissipate but began sinking, indicative that it was part of a cooler air                 pesticides removed from the atmosphere and usage of those pes-
        stream. The particulate did not disperse but moved as a dust cloud to                       ticides within that region (Farenhorst et al. 2015; Goolsby et al.
        the low point in the field, where it was visible for 3 min before dis-                      1997; Thurman and Cromwell 2000; Waite et al. 2002, 2004). In
        sipating. In the study by Oseland et al. (2020), we found that appli-                       a study of rainfall samples collected from 81 sites in the Midwest
        cations made near large bodies of water were more likely to move off                        and Northeast United States in 1990 and 1991, Goolsby et al.
        target. This may be in part due to cool air drainage.                                       (1997) found that peak concentrations of atrazine and alachlor
                                                                                                    were detected in May through July and deposition was highest in
                                                                                                    the corn belt and decreased with distance removed from the
        Removal of Pesticides from the Atmosphere                                                   corn belt. Waite et al. (2004) found a similar relationship
                                                                                                    between dicamba and bulk deposition in Canadian prairies, in
        Pesticides suspended in the atmosphere are removed via five mech-
                                                                                                    which dicamba concentrations peaked in June at ranges from
        anisms: degradation of a stable air mass or drainage system, dry
                                                                                                    0.5 ng m−2 d−1 to approximately 1.7 ng m−2 d−1 depending on
        deposition, wet deposition, chemical degradation, and photo-
                                                                                                    location and year. However, research is still needed to determine
        chemical degradation (Glotfelty and Caro 1975). Virtually all air-
                                                                                                    what concentration of dicamba (or any pesticide of interest)
        borne particles undergo one or a combination of these factors for
                                                                                                    must be deposited from the atmosphere to result in injury of
        their removal from the atmosphere.
                                                                                                    sensitive species.
           In the same field where a smoke bomb was released to illustrate                              Pesticide degradation is another mechanism that can act to
        cool air drainage, and a few meters into the nearest tree line, spo-
                                                                                                    remove chemicals from the atmosphere. Glotfley (1978) concluded
        radic damage that resembled dicamba and glyphosate injury
                                                                                                    that compounds able to strongly absorb solar wavelengths may be
        (Figure 4) was observable at heights similar to those reached by
                                                                                                    more likely to rapidly decompose. Factors that control the atmos-
        the smoke plume in Figure 3. One possible explanation for the
                                                                                                    pheric half-life of a pesticide are difficult to study but likely impor-
        observed injury is that the pesticides moved into the air following
                                                                                                    tant in understanding why some pesticides are more persistent in
        application and in a similar fashion to the initial vertical rising of
                                                                                                    the atmosphere while others are not.
        the smoke bomb. Another possibility is that the pesticides may
        have volatilized into the air. Regardless of how the pesticide moved
        into the air, horizontal winds likely moved the chemicals into the
                                                                                                    Practical Applications
        tree line where the leaf surfaces could have served as an obstruction
        to the horizontal air movement, allowing dry deposition of the                              Elaborate and extensive studies have been and continue being con-
        chemical.                                                                                   ducted on physical drift of pesticides (Alves 2017; Carlson et al. 2006;

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        Johnson et al. 2006; Vangessel 2005; Vieira et al. 2020).                                   Barr S, Orgill MM (1989) Influence of external meteorology on nocturnal valley
        Producers and agricultural professionals have readily adopted                                  drainage winds. J Appl Meteorol 28:497–517
        the outcome(s) from many of those findings whether it be nozzle                             Behrens R, Lueschen WE (1979) Dicamba volatility. Weed Sci 27:486–493
        size, drift reduction agents, and so on (Bish and Bradley 2017). To                         Bidleman TF, Leonard R (1982) Aerial transport of pesticides over the northern
        achieve similar results with regards to secondary movement of pes-                             Indian Ocean and adjacent seas. Atmos Environ 16:1099–1107
                                                                                                    Bird SL, Esterly DM, Perry SG (1996) Off-target deposition of pesticides from
        ticides, producers and agricultural professionals will need more
                                                                                                       agricultural aerial spray applications. J Environ Qual 25:1095–1104
        education on secondary pesticide movement and new best man-                                 Bish MD, Bradley KW (2017) Survey of Missouri pesticide applicator practices,
        agement practices and tools to adopt. The concepts of cool air                                 knowledge, and perception. Weed Technol 31:165–177
        drainage and inversion can easily be demonstrated with smoke                                Bish MD, Farrell ST, Lerch RN, Bradley KW (2019a) Dicamba losses to air after
        bombs (Figures 3 and 5) and/or liquid nitrogen, which can provide                              applications to soybean under stable and nonstable atmospheric conditions. J
        a good example of cool air sinking and moving. Applicators need to                             Environ Qual 48:1675–1682
        understand that topography and obstructions in fields will influ-                           Bish MD, Guinan PE, Bradley KW (2019b) Inversion climatology in high-
        ence formation of stable air masses. An inversion may be occurring                             production agricultural regions of Missouri and implications for pesticide
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                                                                                                       Society Annual Meeting. https://weedscience.missouri.edu/2019_NCWSS_
        the ground, reliably and across multiple topographies is a difficult
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        task (Bish et al. 2019b).                                                                   Bish M, Bradley K (2019b) What have we learned in four years of studying
            From a research perspective, more consideration needs to be                                inversions? Columbia: University of Missouri Integrated Pest Management
        given to all of the potential effects of wind. Measuring wind speed                            Newsletter, April 2, 2019. https://ipm.missouri.edu/IPCM/2019/4/inversion/
        at boom height at the time of application seems acceptable for con-                            Accessed: September 29, 2020
        cerns about physical drift. However, with regard to secondary                               Bradley K (2017a) Ag industry, do we have a problem yet? Columbia: University
        transport of pesticides, is there a height about ground level for                              of Missouri Integrated Pest Management Newsletter, July 25, 2017. https://
        which wind speeds can be measured and used to predict the like-                                ipm.missouri.edu/IPCM/2017/7/Ag_Industry_Do_we_have_a_problem_
        lihood of an application remaining on target?                                                  yet/ Accessed: September 28, 2020
            The U.S. Environmental Protection Agency published a study                              Bradley K (2017b) A final report on dicamba-injured soybean acres. Columbia:
        in 2006 showing that some agricultural areas pose higher risks for                             University of Missouri Integrated Pest Management Newsletter, October
                                                                                                       30, 2017. https://ipm.missouri.edu/ipcm/2017/10/final_report_dicamba_
        off-target pesticide movement (Pfleeger 2006). The percent of land
                                                                                                       injured_soybean/ Accessed: September 28, 2020
        in agriculture, diversity of crops, rates of herbicide use in a given
                                                                                                    Bradley K (2018) July 15 Dicamba injury update: Different year, same questions.
        area, and frequency of high winds were all factors that affected the                           Columbia: University of Missouri Integrated Pest Management Newsletter,
        risks of physical drift to nearby sensitive species (Pfleeger 2006).                           July 19, 2018. https://ipm.missouri.edu/IPCM/2018/7/July-15-Dicamba-
        Perhaps a similar study is warranted that considers the effects of                             injury-update-different-year-same-questions/ Accessed: September 28, 2020
        a lack of wind on secondary pesticide movement.                                             Bradley K (2019) Your dicamba and Xtend soybean report card. University of
            With increased public awareness of pesticides, the release of                              Missouri Crop Management Conference. https://plantsciencesweb.missouri.
        multiple herbicide-resistant traits, and concerns over environ-                                edu/cmc/pdf/2019/bradley-dicamba.pdf Accessed: September 28, 2020
        mental fate, it is essential we not become complacent in our                                Carlsen SCK, Spliid NH, Svensmark B (2006) Drift of 10 herbicides after tractor
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        understanding above what is currently known.                                                Cessna AJ (1993) Relative foliar uptake of a tank mixture of 2,4-D and dicamba
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           simulated herbicide spray drift. Weed Technol 6:956–960                                  Dintelmann BR, Warmund MR, Bish MD, Bradley KW (2019) Investigations of
        Al-Khatib K, Parker R, Fuerst EP (1992b) Sweet cherry (Prunus avium)                           the sensitivity of ornamental, fruit, and nut plant species to driftable rates of
           response to simulated drift from select herbicides. Weed Technol 6:975–979                  2,4-D and dicamba. Weed Technol 34:331–341
        Al-Khatib K, Parker R, Fuerst EP (1993) Wine grape (Vitis vinifera L.) response             Dintelmann B, Trinklein D, Bradley K (2020) Response of common garden
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